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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

 CIN-Q AUTOMOBILES, INC. and       )
 MEDICAL & CHIROPRACTIC CLINIC,    )
 INC., individually and on behalf of a class,
                                   )
                                   )
         Plaintiffs,               ) No.: 8:13-CV-01592-AEP
                                   )
                v.                 )
                                   )
 BUCCANEERS LIMITED PARTNERSHIP,   )
                                   )
         Defendant.                )
 ____________________________      )
                                   )
 TECHNOLOGY TRAINING ASSOCS., INC. )
 et al.,                           )
                                   )
          Intervenors.             )

 PLAINTIFFS’ UNOPPOSED MOTION FOR PRELIMINARY APPROVAL
   OF CLASS ACTION SETTLEMENT AND NOTICE TO THE CLASS

      Plaintiffs, Cin-Q Automobiles, Inc. and Medical & Chiropractic Clinic, Inc.,

(together “Plaintiffs”), on behalf of themselves and a proposed settlement class of

similarly-situated persons (identified herein as the “Settlement Class”), respectfully

request, pursuant to Fed. R. Civ. P. 23(e), that the Court enter an order (1)

preliminarily approving the parties’ proposed class-action Settlement Agreement

(the “Agreement”) attached as Exhibit 1, certifying the Settlement Class, appointing

Plaintiffs as class representatives and their attorneys as class counsel; (2) approving

the form of Class Notice attached as Exhibit B to the Agreement and its

dissemination to the Settlement Class by U.S. mail and website, and agreeing to
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decide, pursuant to the parties’ agreement, whether additional notice should be sent

by facsimile and/or publication; and (3) setting dates for opt-outs, objections, and a

fairness hearing.

       As discussed in the attached Memorandum, the Agreement is the result of

hard-fought negotiations over many months with the assistance of Magistrate Judge

Amanda Sansone, and it provides substantial relief to members of the Settlement

Class. The Agreement provides, inter alia, for a Settlement Fund of up to $19.75

million; payments of $350 to $615 to Settlement Class members who submit Claims

(to be reduced pro rata if and only if the Settlement Fund, after payment of fees and

incentive awards, and notice and administration costs, is insufficient to fully pay the

valid submitted Claims); Defendant’s agreement to entry of an injunction ordering

it not to send any further unsolicited facsimile advertisements; and potential awards

of attorneys’ fees, expenses, and incentive awards to the named Plaintiffs.

       The parties agreed that notice is to be sent by U.S. mail to those class

members for whom mailing addresses can be determined and by a settlement

website. The parties further agreed that the Court will decide, in its discretion,

whether additional notice should be given by facsimile and/or by newspaper

publication, with Plaintiffs in favor of both forms of additional notice and with

Defendant opposed to either form of additional notice. The Settlement Agreement

provides for a release of claims as set forth therein.

       A proposed Preliminary Approval Order is attached as Exhibit 2 and will be

submitted to the Court electronically as directed.

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                            MEMORANDUM OF LAW

I.    Background of the litigation and settlement discussions.

      This case arises out of faxed advertisements for Tampa Bay Buccaneers

tickets allegedly sent by or on behalf of defendant Buccaneers Team LLC, formerly

Buccaneers Limited Partnership (“BTL” or “Defendant”) in 2009 and 2010. The

case has a long procedural history, beginning in 2009 with Cin-Q Automobiles’ first

state-court action against Defendant, and the filing in 2013 of this federal action,

Cin-Q Auto. Inc. v. Buccaneers Ltd. P’Ship, No. 13-cv-1592 (M.D. Fla.) (the “Cin-Q

Action”).

      The essential facts surrounding the fax advertising in 2009–2010 that gave

rise to this case are recited in Plaintiffs’ Motion for Summary Judgment (Cin-Q Doc.

138), Plaintiffs’ Motion for Class Certification (Cin-Q Doc. 207), and the Court’s

ruling denying both parties summary judgment in Cin-Q Auto., Inc. v. Buccaneers Ltd.

P’ship, No. 8:13-CV-01592-AEP, 2014 WL 7224943 (M.D. Fla. Dec. 17, 2014). In

short, from July 2009 through June 2010, a “fax broadcaster” hired by Defendant

called FaxQom, arranged for the sending of 343,011 faxes advertising tickets to

Tampa Bay Buccaneers games. (Cin-Q Doc. 207 at 3–10).

      On August 28, 2009, Cin-Q filed a class-action TCPA action against BTL in

Florida state court. (Id.) On or about June 15, 2013, Cin-Q filed this action in the

United States District Court for the Middle District of Florida, and Plaintiffs filed a

Second Amended Complaint (“SAC”), adding Medical & Chiropractic, Inc. as a

Plaintiff on January 3, 2014.


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       On December 17, 2014, this Court denied both parties summary judgment.

(Order, Doc. 167). The Court found there were genuine issues of material fact

regarding the issue of whether BTL was liable as the “sender” of the faxes, ruling

that a jury must decide the question. (Id.)

       On March 25, 2016, Plaintiffs filed their initial Motion for Class

Certification. (Doc. 207). Thereafter, this case was stayed during the pendency of a

proposed settlement in Technology Training Associates, Inc., et al. v. Buccaneers Ltd.

P’ship, Case No. 8:16-cv-01622-MSS-AEP (M.D. Fla. 2016) (the “TTA Action”). See

Tech. Training Assocs., Inc. v. Buccaneers Ltd. P’ship, 874 F.3d 692, 697 (11th Cir.

2017) (reversing denial of Plaintiffs’ motion to intervene in the TTA Action); Tech.

Training Assocs., Inc. v. Buccaneers Ltd. P’ship, No. 8:16-CV-1622-T-AEP, 2019 WL

4751799, at *18 (M.D. Fla. Sept. 30, 2019) (granting Plaintiffs’ motion to vacate

preliminary approval and decertify the TTA settlement class).

       On January 17, 2020, this Court ordered the parties to hold a settlement

conference with Magistrate Judge Sansone and appointed Michael C. Addison as

Interim Lead Counsel. (Doc. 284). The COVID-19 pandemic delayed the

conference until September 22, 2020, when it was held via teleconference, and

subsequent negotiations continued through Judge Sansone. (Doc. 312).

       On or about June 9, 2021, the parties reached an agreement in principle that

would resolve the claims in this litigation on a class-wide basis. Defendant

continues to deny all material allegations of the SAC and denies liability.




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      During the pendency of this action, the Consumer & Governmental Affairs

Bureau (“Bureau”) of the Federal Communications Commission (“FCC”), the

agency with authority to “implement” the TCPA, 47 U.S.C. § 227(b)(2), issued

two relevant declaratory rulings. First, on December 9, 2019, the Bureau issued In

re Amerifactors Fin. Group, LLC Pet. for Expedited Declaratory Ruling, CG Docket Nos.

02-278, 05-338, Declaratory Ruling, 2019 WL 6712128 (CGAB Dec. 9, 2019)

(“Amerifactors Bureau Order”), stating that a fax is not sent “to a telephone

facsimile machine,” as required for TCPA liability under 47 U.S.C. § 227(b)(1)(C),

when it is received by the end-user using an “online fax service.”

      In Daisy, Inc. v. Mobile Mini, Inc., 489 F. Supp. 3d 1287, 1296 (M.D. Fla.

2020), a judge in this District held that, following the Amerifactors Bureau Order,

a plaintiff who received an unsolicited fax ad using an “online fax service” had no

Article III standing and dismissed the case. But see Ambassador Animal Hosp., Ltd. v.

Hill’s Pet Nutrition, Inc., No. 20 C 3326, 2021 WL 3043422, at *1 (N.D. Ill. Feb. 17,

2021) (denying motion to dismiss, holding the Amerifactors Bureau Order “flies in

the face of years of precedent, established by the FCC . . . that the TCPA covers

faxes sent to computers in addition to traditional fax machines”).

      In Career Counseling, Inc. v. Amerifactors Fin. Grp., LLC, No. 3:16-CV-03013-

JMC, 2021 WL 3022677, at *12 (D.S.C. July 16, 2021), the district court denied

class certification based on the Amerifactors Bureau Order, finding that users of

“online fax services” could not be part of the class and that a “stand-alone” fax




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machine class was not “ascertainable.” But see True Health Chiropractic Inc. v.

McKesson Corp., No. 13-CV-02219-HSG, 2020 WL 7664484, at *8 (N.D. Cal. Dec.

24, 2020) (holding Amerifactors Bureau Order did not foreclose class certification

and certifying separate “online fax services” class and “stand-alone fax machine”

class); Scoma Chiropractic, P.A. v. Dental Equities, LLC, No. 2:16-CV-41-JLB-MRM,

2021 WL 719655, at *4 (M.D. Fla. Feb. 24, 2021) (vacating magistrate judge’s

report recommending denial of class certification, holding issue of whether users of

“online fax services” have a claim is “a merits contention that is common to the

class” properly decided “at trial or in a ruling on a summary-judgment motion”

and “should not be resolved in deciding whether to certify a proposed class”).

      Second, on September 21, 2020, the Bureau issued In re Akin Gump Strauss

Hauer & Feld LLP Pet. for Expedited Clarification or Declaratory Ruling, 2020 WL

5747205 (CGAB Sept. 21, 2020) (“Akin Gump Bureau Order”). Both Cin-Q

Automobiles and Defendant filed comments on the petition that led to the Akin

Gump Bureau Order. The Akin Gump Bureau Order stated that “a fax broadcaster

is solely liable for TCPA violations when it engages in deception or fraud against

the advertiser (including when a fax broadcaster violates its contract with the

advertiser in a manner that is deceptive or fraudulent),” although it also ruled that

“to the extent the advertiser is on notice of TCPA violations by its fax broadcaster

and fails to take action to stop such behavior, it cannot claim that it remains

deceived by the fax broadcaster’s action and may be liable for such violations.”

(Akin Gump Bureau Order ¶¶ 3, 9). To Class Counsels’ knowledge, only one court


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 has yet applied the Akin Gump Bureau Order. See Crescent City Surgical Ctr.

 Operating Co., LLC v. Next Bio-Rsch. Servs., LLC, No. CV 20-2369, 2021 WL 1985166

 (E.D. La. May 17, 2021) (denying motion to dismiss at the pleading stage).

       In light of all the facts and the potentially applicable authorities, including the

 Amerifactors Bureau Order and the Akin Gump Bureau Order, Plaintiffs and Class

 Counsel concluded that the Settlement is fair, reasonable, adequate and in the best

 interest of the Settlement Class. The Settlement provides substantial benefits to the

 Settlement Class and resolves all issues that were or could have been raised in this

 action without prolonged litigation and the risks and uncertainties inherent in

 litigation. Despite maintaining its denial of liability, and without admitting or

 conceding any wrongdoing, Defendant consented to the Settlement solely to avoid

 the expense, inconvenience, and inherent risks of litigation as well as continued

 disruption of its business operations. Based upon their review and analysis, Plaintiffs

 and Defendant agreed to and executed the Agreement.

II.    Summary of the settlement.

       If approved by the Court after notice to the Settlement Class, the parties’

 settlement agreement would resolve this action and the controversy about

 Defendant’s fax advertisements sent at any time in 2009 or 2010 (the “Class

 Period”). The key terms of the Agreement are as follows:


      a.     Certification of a Settlement Class. Solely for the purpose of

implementing the Settlement, the parties have stipulated to certification of a Rule



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23(b)(3) “Settlement Class” defined as, “All persons who received or were

successfully sent in 2009 or 2010 one or more facsimile advertisements relating to

tickets for Tampa Bay Buccaneers games.” Specifically excluded from the Settlement

Class are BTL and its respective parents, subsidiaries, divisions, affiliates, associated

entities, business units, predecessors in interest, successors, successors in interest and

representatives and each of their respective immediate family members; Class

Counsel; and the judges who have presided over this litigation and any related cases.

      b.     Class Representatives and Class Counsel. The parties have agreed that

Plaintiffs are the Class Representatives and that Plaintiffs’ attorneys (Michael C.

Addison and the law firm of Addison Law Office, P.A., Ross M. Good, Glenn L.

Hara, and Brian J. Wanca and the law firm of Anderson + Wanca) are Class

Counsel for the Settlement Class.

      c.     Settlement Fund. Defendant has agreed to make available up to

$19,750,000.00 (the “Settlement Fund”) to pay valid class member claims

(“Awards”), to pay incentive awards to Plaintiffs, and to pay Class Counsel

attorneys’ fees and reasonable out-of-pocket litigation expenses, as approved by the

Court, and to pay Notice and Administration Costs.

      d.     Monetary Relief to the Members of the Settlement Class.

Settlement Class Members who received one or more unsolicited fax

advertisements sent by or on behalf of Defendant and who submit a valid claim are

eligible to receive Awards up to:

             (i)    $350 for the first such facsimile;


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              (ii)    $125 for the second such facsimile;
              (iii)   $90 for the third such facsimile;
              (iv)    $25 for the fourth such facsimile; and
              (v)     $25 for the fifth such facsimile.
If the aggregate claimed Awards exceed the amount available to pay the Awards,

after accounting for the payment of incentive awards, the payment of attorneys’ fees

and expenses, and the payment of Notice and Administration costs, the Awards to

the Settlement Class Members who submitted valid claims will be reduced on a pro

rata basis.

        e.    Class Notice. The parties have agreed to notify the Settlement Class

about the settlement by sending the Mailed Notice by U.S. mail to all Settlement

Class Members for whom mailing addresses can be determined. The notice includes

instructions about opting out, objecting, or submitting a claim form to the

Settlement administrator by mail. In addition, the parties have agreed to cause to be

created a settlement website that will provide information and relevant documents

related to the Settlement, including the Settlement Agreement, the Class Notice, the

Claim Form, and Plaintiffs’ Motion for Attorneys’ Fee Award and Incentive

Awards.

        f.    Claims.

              (i)     Claim Form. The Claim Form is a simple form for submitting

       claims for cash Awards and is attached to the Settlement Agreement as

       Exhibit A. The Claim Form submitted by each class member must be signed

       under penalty of perjury. A claiming class member must identify the fax


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      number or numbers on which they may have received faxes from Defendant,

      as well their contact information.

             (ii)   Settlement Administrator. Defendant shall retain and pay from

      the Settlement Fund, a third-party settlement administrator, to be agreed upon

      by the parties and approved by the Court, who will issue the class notice,

      maintain the settlement website, receive the claim forms, assist class members

      in completing and submitting forms, and issue settlement checks. Any claim

      that is not substantially in compliance with the instructions on the Claim

      Form or the terms of the Settlement Agreement or is postmarked later than the

      Claim Deadline shall be rejected. The decision of the settlement administrator

      regarding whether a claim is valid is final and binding on the parties, subject to

      the right of the parties and/or any absent class member to appeal any such

      determination by the administrator and subject to the provisions of Section

      VIII(E) of the Agreement. In such event, the parties agree to negotiate in good

      faith a resolution of any dispute regarding a decision by the claims

      administrator, and only if the dispute cannot be resolved informally by the

      parties, shall the dispute be presented to and resolved by the Court.

      g.     Release. In consideration of the relief provided by the Settlement, the

Settlement Class will release all claims that were brought or could have been

brought, as defined in the Agreement, in this action against Defendant and the other

released parties about the subject advertisements sent by fax during the Class Period.




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       h.    Attorneys’ Fees and Costs and Class Representative Award. On the

same day the Court grants Preliminary Approval, Class Counsel will file a Motion

for Attorneys’ Fee Award and Incentive Award with the Court seeking an award of

attorneys’ fees in an amount not to exceed in total 25% of the Settlement Fund

($4,937,500.00), plus reasonable out-of-pocket expenses incurred not to exceed

$250,000 to be paid from the Settlement Fund. Class Counsel will also ask the Court

to approve an award of $10,000 for Cin-Q Automobiles, Inc. and $10,000 for

Medical & Chiropractic, Inc. for serving as the class representatives. In accordance

with Johnson v. NPAS Sols., LLC, 975 F.3d 1244 (11th Cir. Sept. 17, 2020), the

Motion for Attorneys’ Fees and Incentive Award will be available on the settlement

website for class members to review.

III.    The Court should preliminarily certify the Settlement Class.

       For purposes of settlement only, Plaintiffs seek preliminary certification of

the following class: “All persons who received or were successfully sent in 2009 or

2010 one or more facsimile advertisements relating to tickets for Tampa Bay

Buccaneers games.”

       The Court should certify the Settlement Class under Rule 23. It is well

established that “[a] class may be certified solely for purposes of settlement [if] a

settlement is reached before a litigated determination of the class certification

issue.” Borcea v. Carnival Corp., 238 F.R.D. 664, 671 (S.D. Fla. 2006) (internal

quotation marks omitted). Confronted with a request for settlement-only class

certification, a district court need not inquire whether the case, if tried, would


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present intractable management problems, see Fed. Rule Civ. P. 23(b)(3)(D), for the

proposal is that there be no trial. But other specifications of the Rule—those

designed to protect absentees by blocking unwarranted or overbroad class

definitions—demand undiluted, even heightened, attention in the settlement

context. Such attention is of vital importance, for a court asked to certify a

settlement class will lack the opportunity, present when a case is litigated, to adjust

the class, informed by the proceedings as they unfold. See Rule 23(c), (d); Amchem

Prods., Inc. v. Windsor, 521 U.S. 591, 620 (1997).

       “Class certification is normal in litigation under § 227, because the main

questions, such as whether a given fax is an advertisement, are common to all

recipients.” Holtzman v. Turza, 728 F.3d 682, 685 (7th Cir. 2013). Here, the

Settlement Class is focused on a series of fax broadcasts in 2009 and 2010 paid for

by Defendant and allegedly sent on Defendant’s behalf, advertising Defendant’s

goods or services. The Settlement Class members can be sent notice through records

showing the fax numbers to which the faxes were sent, and those records can also

be used to review claims. 1

       The Settlement Class satisfies the requirements of Rule 23(a): numerosity,

commonality, typicality, and adequacy.

       Numerosity. It is beyond dispute that numerosity is satisfied here. The case

involves over 343,000 faxes sent to over 131,000 unique fax numbers.


1
 Defendant reserves all arguments with respect to these records in the event that the case
returns to litigation.


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       Commonality. Commonality is satisfied. “This case involves common

questions of fact and law, including whether the faxes constitute advertisements,

and whether the faxes were sent on behalf of the Defendant. The answer to these

questions is ‘apt to drive the resolution of the litigation.’” Palm Beach Golf Ctr.- Boca,

Inc., v. Sarris, 311 F.R.D. 688, 695 (S.D. Fla. 2015) (certifying TCPA litigation

class) (quoting Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011)).

       Typicality. Typicality is shown “if the claims or defenses of the class and the

class representative arises from the same event or pattern or practice and are based

on the same legal theory.” Kornberg v. Carnival Cruise Lines, Inc., 741 F.2d 1332, 1337

(11th Cir.1984). In a TCPA case such as this one, typicality is satisfied because

“Plaintiff[s], like each of the class members, w[ere] purportedly sent the same fax

and each class member’s claim is based on the same legal theory and same set of

facts as Plaintiff's claim.” Sarris, 311 F.R.D. at 696.

       Adequacy. The adequate representation requirement is “satisfied here

because there are no conflicts of interest between the Plaintiff[s] and the Settlement

Class, and Plaintiff[s have] retained competent counsel.” Pierre-Val v Buccaneers Ltd.

P’ship, 2015 WL 3776918, at *3 (M.D. Fla. 2015) (preliminarily approving class

settlement). Plaintiffs have vigorously prosecuted the action for years, after

identifying the cause of action against Defendant in 2009, by engaging in years of

hard-fought discovery and motion practice, and by participating in the arm’s-length

negotiation of the settlement. They have retained proposed class counsel who are

highly experienced in TCPA litigation throughout the country, including winning


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class judgments, settling TCPA class actions, and briefing and arguing appeals in

many Circuits, including the Eleventh Circuit. See, e.g., Physicians Healthsource, Inc. v.

Doctor Diabetic Supply, LLC, 2014 WL 7366255, at *6 (S.D. Fla. Dec. 24, 2014)

(Anderson + Wanca “is knowledgeable of the applicable law and experienced in

litigating TCPA classes”); A Aventura Chiropractic Ctr., Inc. v. Med Waste Mgmt. LLC,

2013 WL 3463489, at*4 (S.D. Fla. July 3, 2013); Etter v. Allstate Ins. Co., 323 F.R.D.

308, 312 (N.D. Cal. 2017) (noting Anderson + Wanca’s “experienced TCPA

litigators”); Physicians Healthsource, Inc. v. A-S Medication Sols., LLC, 318 F.R.D. 712,

724 (N.D. Ill. Sept. 27, 2016) (finding “no reason to doubt” Anderson + Wanca’s

adequacy); Siding & Insulation Co. v. Combined Ins. Grp., Ltd., Inc., 2012 WL 1425093,

at *4 (N.D. Ohio Apr. 24, 2012) (finding Anderson + Wanca “sufficiently

experienced and qualified to handle class actions”).

       The Settlement Class also satisfies Rule 23(b)(3)’s requirements of

predominance of common issues and superiority of a class action to other means of

litigation.

       Predominance. Because Plaintiffs have alleged that “Defendant[] engaged in

a mass [fax advertising] campaign, common questions predominate.” City Select

Auto Sales, Inc. v. David Randall Assocs., Inc., 296 F.R.D. 299, 314 (D.N.J. 2013)

(certifying litigation class). “The facts necessary to establish liability relate to

Defendant’s common course of conduct and the transmissions of the faxes, and not

to issues with individual class members.” Sarris, 311 F.R.D. at 699 (same).




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       Superiority. “Given the large number of purported members in this suit and

the similarity of their claims, disposition by class action is an efficient use of judicial

resources. Moreover, the relatively small potential recovery in individual actions

($500 in the absence of a finding of willfulness) and reduced likelihood that

plaintiffs will bring suit also weighs in favor of class resolution.” Sarris, 311 F.R.D.

at 699.

       Accordingly, the Court should preliminarily certify the proposed Settlement

Class, appoint Plaintiffs as the class representatives, and appoint Plaintiffs’ counsel

as Class Counsel.

IV.    The Court should grant preliminary approval to the settlement.

       “Approval of a class-action settlement is a two-step process. In the first step,

the Court determines whether the proposed settlement should be preliminarily

approved.” Fresco v. Auto Data Direct, Inc., 2007 WL 2330895, *4 (S.D. Fla. May 14,

2007) (citing Manual for Complex Litigation § 21.632 (4th ed. 2004)). “At the

preliminary-approval step, the Court is required to ‘make a preliminary

determination on the fairness, reasonableness, and adequacy of the settlement

terms.’” Id. (quoting Manual for Complex Litigation § 21.632). “A proposed

settlement should be preliminarily approved if it ‘is within the range of possible

approval or, in other words, [if] there is “probable cause” to notify the class of the

proposed settlement.’” Id. (quoting Horton v. Merrill Lynch, Pierce, Fenner & Smith, Inc.,

855 F. Supp. 825, 827 (E.D.N.C. 1994); Armstrong v. Board of School Directors, 616

F.2d 305, 312 (7th Cir. 1980)). “In the second step, following appropriate notice to



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the class and after hearing from any potential objectors, the Court makes a final

decision whether to approve the proposed settlement.” Id.

       A court may approve a class action settlement if the settlement “is fair,

reasonable, and adequate.” Fed. R. Civ. P. 23(e)(1)(C). See Nelson v. Mead Johnson &

Johnson Co., 484 Fed. Appx. 429, 434 (11th Cir. 2012). It is well-established that there

is an overriding public interest in settling and quieting litigation, and this is

particularly true in class actions. See In re Checking Account Overdraft Litig., 830 F.

Supp. 2d 1330, 1341 (S.D. Fla. 2011) (quoting In re Chicken Antitrust Litig. Am.

Poultry, 669 F.2d 228, 238 (5th Cir. 1982) (The Rule 23(e) analysis should be

“informed by the strong judicial policy favoring settlements as well as the realization

that compromise is the essence of settlement”); Isby v. Bayh, 75 F.3d 1191, 1196 (7th

Cir. 1996) (“Federal courts naturally favor the settlement of class action litigation.”).

“Settlement agreements are highly favored in the law and will be upheld whenever

possible because they are a means of amicably resolving doubts and uncertainties and

preventing lawsuits.” In re Checking Account Overdraft Litig., 830 F. Supp. 2d at 1341

(quoting In re Nissan Motor Corp. Antitrust Litig., 552 F.2d 1088, 1105 (5th Cir. 1977)).

       The factors for consideration are: (1) the likelihood of success at trial; (2) the

range of possible recovery; (3) the range of possible recovery at which a settlement is

fair, adequate, and reasonable; (4) the anticipated complexity, length and expense of

further litigation; (5) opposition to the settlement; and (6) the stage of the

proceedings at the time of settlement. See Faught v. American Home Shield Corp., 668




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F.3d 1233, 1240 (11th Cir. 2011) (citing In re CP Ships Ltd. Sec. Litig., 578 F.3d 1306,

1315 (11th Cir. 2009)).

      In this case, these factors show that the proposed settlement is within the

range of possible approval and, therefore, that the Court (a) should permit the parties

to notify the Settlement Class and (b) should schedule a fairness hearing to determine

whether to finally approve the settlement. The parties’ Agreement resulted from

arm’s-length negotiations before an experienced mediator, Magistrate Judge

Sansone. The parties were represented by experienced counsel with an understanding

of the strengths and weaknesses of their respective positions.

      This settlement is an excellent outcome and result for the Class. Defendant

has agreed to create a settlement fund of up to $19.75 million. Each class member

who does not opt-out of the Settlement Class and who submits a timely and valid

claim form will be mailed a check in an amount up to $615. The settlement offers

each member of the Settlement Class an opportunity to obtain a significant monetary

payment, while avoiding the costs and risks associated with further litigation.

Without the settlement, the Class might recover substantially less, if anything at all.

Defendant has also agreed not to send unsolicited fax advertisements that do not

otherwise comply with the TCPA. Defendant has agreed to pay attorneys’ fees and

incentive awards to Plaintiffs.

      “Most class actions are inherently complex and settlement avoids the costs,

delays and multitude of other problems associated with them.” In re Austrian &

German Bank Holocaust Litig., 80 F. Supp. 2d 164, 174 (S.D.N.Y. 2000). This case is


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no exception. Defendant denies liability but has agreed to settle to avoid the

distraction and expense of defending protracted litigation and exposure to higher

liability.

       There are risks attendant to further litigation, and substantial delay and

expense. This Court has already denied both parties’ cross-motions for summary

judgment, finding that the case would need to be submitted to a trier of fact. Cin-Q

Automobiles, Inc. v. Buccaneers Limited Partnership, 2014 WL 7224943 (M.D. Fla.

2014). The decision to settle is reasonable in light of the risks of continued litigation

for all parties. Those risks include Defendant’s contentions that the fax broadcasters

included entities unknown to it, and that the broadcasters exceeded their authority or

even committed outright fraud. In addition to the risk of loss, continued litigation

would delay the class members’ receipt of any recovery.

       The TCPA gives private citizens a right to sue (i) to enjoin future

transmissions, (ii) to recover the greater of actual monetary damages or $500 in

damages for each junk fax, or (iii) to obtain an injunction plus damages. If a court

finds that the sender willfully or knowingly violated the TCPA, it may increase the

award up to three times the amount of damages. Here, each class member who does

not opt-out of this proposed settlement and who submits a timely and valid Claim

Form will receive a cash payment in an amount up to $615, and Defendant has

agreed to pay from the Settlement Fund the attorneys’ fees and certain expenses of

Class Counsel for conferring that benefit upon each class member. Moreover,

Defendant has agreed to not send any unsolicited facsimile advertisements that do


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not otherwise comply with the TCPA. Plaintiffs’ attorneys believe this settlement is

fair, reasonable, and adequate. Plaintiffs’ attorneys have litigated TCPA class actions

since 2003. They have been appointed class counsel in dozens of such cases, as well

as in other types of class actions, and they have successfully negotiated numerous

class-wide settlements in TCPA cases.

      Based upon the foregoing, and the judgment of experienced class counsel,

Plaintiffs request that the Court preliminarily approve the settlement.

V.    The Court should approve mail notice to the Settlement Class and decide
      whether to allow Plaintiffs to send facsimile notice and/or publication
      notice.

      Under federal law, notice of the settlement must satisfy due process. Maher v.

Zapata Corp., 714 F. 2d 436, 450-453 (5th Cir. 1983); Walsh v. Great Atlantic & Pacific

Tea Co., 726 F. 2d 956, 963 (3d Cir. 1983). The Court is vested with wide discretion

both as to the manner in which notice is given and the form that notice is to take. 7B

Charles Alan Wright et al., Fed. Practice & Procedure § 1797.6 (3d ed. 2005). Rule

23(e)(i)(B) requires that notice of a settlement be provided “in a reasonable manner.”

      Here, the parties have agreed to a reasonable manner of notice by sending it by

U.S. mail to the addresses associated with the fax numbers at issue in the case, to the

extent an address is available. The parties also intend to provide notice through the

settlement website. The simple claim form will be delivered with the mailed notice,

so that members of the Settlement Class can complete a claim form and return it

immediately by mail. Settlement Class members can also access and download a

Claim Form through the settlement website.


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       The contents of the notice “must clearly and concisely state in plain, easily

understood language: (i) the nature of the action; (ii) the definition of the class

certified; (iii) the class claims, issues, or defenses; (iv) that a class member may enter

an appearance through an attorney if the member so desires; (v) that the court will

exclude from the class any member who requests exclusion; (vi) the time and manner

for requesting exclusion; and (vii) the binding effect of a class judgment on members

under Rule 23 (c)(3).” Here, the notice satisfies these requirements.

       The parties agreed to submit to the Court’s decision on whether to send the

class members additional notice (1) via facsimile to the telephone numbers to which

the faxes at issue in this case were sent (“Fax Notice”); and/or (2) notice by

publication via one-quarter page advertisements on two consecutive Sundays in the

Tampa Bay Times, the Sarasota Herald Tribune, and the Gainesville Sun

(“Publication Notice”). Plaintiffs contend that the more notice the class receives, the

better, and that publication notice is commonplace, and that a Fax Notice program is

perfectly appropriate. See Physicians Healthsource, Inc. v. A-S Medication Sols., LLC, 950

F.3d 959, 971 (7th Cir. 2020) (affirming fax notice program, holding “the fact that

counsel is faxing the notice to the same numbers that received the offending fax

assures us that the individuals responding to it, and subsequently collecting the

judgment, do in fact have standing”).

       The notice meets the legal standards for appropriate notice and satisfies Rule

23(e). Therefore, the Court should approve the proposed mail notice and authorize




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its dissemination to the Class, and order Fax Notice and/or Publication Notice in its

discretion.

VI.   The Court should schedule a final fairness hearing.

      Plaintiffs request that the Court schedule a hearing to allow the proponents

and any opponents of the settlement to voice their opinions or objections. The Notice

informs the Settlement Class about this hearing. Settlement Agreement, Exhibit B.

At the fairness hearing, Plaintiffs will request that the Court enter a Final Approval

of Agreement and Judgment.

                                      Conclusion

      Plaintiffs respectfully request that the Court enter a Preliminary Approval

Order in the form attached as Exhibit B certifying the Settlement Class, appointing

Plaintiffs as the class representatives and their attorneys as Class Counsel, granting

preliminary approval of the proposed settlement, directing that the members of the

Settlement Class be notified about the proposed settlement in the form and manner

agreed by the parties (Exhibit B to the Agreement), in addition to notice by

facsimile and/or publication, as the Court decides in its discretion, and setting dates

for opt-outs, objections, and scheduling a final approval hearing.




                                        Respectfully submitted,

                                        /s/ Michael C. Addison
                                        Michael C. Addison (Fla. Bar. No. 0145579)




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                           CERTIFICATE OF SERVICE

       I hereby certify that on August 27, 2021, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which will send notification
of such filing to all attorneys of record.


                                        s/Michael C. Addison




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